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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAKE CHARLES DIVISION

FIRST ASSEMBLY OF GOD CHURCH, INC. CIVIL ACTION NO, 2:21-cv-00378
OF LEESVILLE, LOUISIANA

JUDGE JAMES D. CAIN, JR.
VERSUS

MAGISTRATE KATHLEEN KAY
CHURCH MUTUAL INSURANCE
COMPANY, S.I.

MEMORANDUM IN SUPPORT OF MOTION FOR RECONSIDERATION

Defendant, Church Mutual Insurance Company, S.I. (“Church Mutual”), submits this
Memorandum in Support of its Motion for Reconsideration of its previously filed Motion to
Continue.! Church Mutual’s Motion for Reconsideration relates to the Court’s Order issued on
May 13, 2022 denying the Motion to Continue. Church Mutual respectfully requests
reconsideration of the Order for the following reasons:

Sidney W. Degan, III, Lead Counsel for Church Mutual, is scheduled to appear in front of
this Honorable Court on September 6, 2022 in the above-named case, as well as case no. 2:21-cv-
02039, “First Pentecostal Church of Starks, Louisiana vy. Church Mutual Insurance Company.”
As stated in Church Mutual’s Motion to Continue, allowing the two cases to be scheduled for the
same day would provide substantial hardship to Church Mutual. Lead counsel would be required
to prepare for two separate cases, which are both substantial. Full attention of Lead Counsel should
be on one case at a time.

Courts have granted Motions to Continue for reasons in the interest of justice and fairness.”

Church Mutual is the named Defendant, and same client of Lead Counsel in both matters scheduled

! See Doc. 20.
2 See Smalls v. Glob. Indus., Ltd., No. CIV. A. 98-0707, 1999 WL 225444, at *5 (E.D. La. Apr. 15, 1999).

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for the September 6, 2022 trial date. Allowing trial to move forward for both matters would not
be equitable to Church Mutual, as it will not know which will go forward until the day of trial. For
reasons of fairness and equity, Church Mutual respectfully requests that this Court reconsider its
Motion to Continue.

Finally, the trial date of September 6, 2022 was chosen unilaterally without the input of
Church Mutual. Church Mutual was not afforded the opportunity to voice its concerns of having
two trials for its Lead Counsel in two matters set for the same date. Church Mutual thus respectfully
requests this Court to reconsider its Motion to Continue to give Church Mutual an opportunity to
participate in the scheduling of its trial.

CONCLUSION

For the foregoing reasons, Church Mutual respectfully requests this Honorable Court
reconsider its Motion to Continue trial.

Respectfully submitted,
DEGAN BLANCHARD & NASH

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 10" day of June, a copy of the foregoing was sent in
accordance with the Federal Rules of Civil Procedure to the following counsel of record via

electronic mail.

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/s Mandy A. Simon
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